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                Exhibit E
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From: Joshua Levy <jal@levyfirestone.com>
Date: Thursday, May 13, 2021 at 9:24 AM
To: Joe Oliveri <joe@clarelocke.com>, Rachel Clattenburg
<rmc@levyfirestone.com>, Andrew Sharp
<eas@levyfirestone.com>
Cc: Tom Clare <tom@clarelocke.com>, Libby Locke
<libby@clarelocke.com>, Andy Phillips
<andy@clarelocke.com>
Subject: Re: Correspondence - Fridman et al v. Bean LLC
et al

Joe --

We are free for a 7(m) today on the issues raised in your
May 3 letter and the issues raised in our May 5 letter
between 11am-2:30pm. Please let us know what time works
best for you within that window. Alternatively, we are also
free after 5pm.

Kind regards,
Josh

Joshua A. Levy

Partner



Levy | Firestone | Muse

1701 K Street NW, Suite 350, Washington, DC 20006

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under the U.S. Internal Revenue Code or (2) promoting, marketing or
recommending to another party any tax-related matters addressed herein.

···




From: Joe Oliveri <joe@clarelocke.com>
Sent: Wednesday, May 12, 2021 5:39 PM
To: Josh Levy <jal@levyfirestone.com>; Rachel Clattenburg
<rmc@levyfirestone.com>; Andrew Sharp
<eas@levyfirestone.com>
Cc: Tom Clare <tom@clarelocke.com>; Libby Locke
<libby@clarelocke.com>; Andy Phillips <andy@clarelocke.com>
Subject: Re: Correspondence - Fridman et al v. Bean LLC et al

Josh,
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Please see the attached correspondence responding to your May 5
letter.

In addition, thank you for confirming in your May 11 letter your
availability for a Rule 7(m) conference tomorrow to meet-and-
confer regarding the issues raised in our May 3 letter about
Defendants’ third privilege log. I can make myself available at any
time—just let me know your preference. I look forward to
speaking with you.

Best,
Joe Oliveri

Joseph R. Oliveri | Partner
CLARE LOCKE LLP
10 Prince Street | Alexandria, Virginia 22314
(202) 628-7405 - direct | (413) 657-6750 - cell
joe@clarelocke.com | www.clarelocke.com
